            2:23-cv-02168-CSB-EIL          # 27      Filed: 09/11/24     Page 1 of 3
                                                                                                      E-FILED
                                                             Wednesday, 11 September, 2024 12:11:56 PM
                                                                            Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

 DOMINICK POLIZZI, RACHEL
 ROBIDOUX, and GEORGIA BAIN on behalf
 of themselves and all others similarly situated,   Case No.: 2:23-cv-02168-CSB-EIL

                Plaintiffs,                         Hon. Judge Colin S. Bruce

 v.                                                 Hon. Magistrate Eric I. Long

 JIMMY JOHN’S, LLC,

                Defendant.


                 JOINT REPORT OF RULE 26(f) PLANNING MEETING

       Plaintiffs Dominick Polizzi (“Polizzi”), Rachel Robidoux (“Robidoux”), and Georgia Bain

(“Bain” and, collectively with Polizzi and Robidoux, “the Plaintiffs”), being represented by Arun

Ravindran, and Defendant Jimmy John’s LLC (“Jimmy John’s”), being represented by David

Poell, met telephonically on August 19, 2024 for the purpose of formulating a proposed discovery

calendar for consideration by the Court. The following are dates upon which undersigned counsel

have agreed:

       1.      Parties will exchange their initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1)

by September 23, 2024.

       2.      The deadline for amendment of pleadings is December 1, 2024.

       3.      The deadline for joining additional parties is December 1, 2024.

       4.      Plaintiffs shall disclose experts and provide expert reports by July 1, 2025.

Plaintiffs shall make any such experts available for deposition by July 15, 2025.

       5.      Defendant shall disclose experts and provide expert reports by August 1, 2025.

Defendant shall make any such experts available for deposition by August 15, 2025.
             2:23-cv-02168-CSB-EIL          # 27       Filed: 09/11/24     Page 2 of 3




        6.     Discovery shall be modified as follows: N/A.

        7.     All discovery, including deposition of experts, is to be completed by September 1,

2025.

        8.     The deadline for filing case dispositive motions shall be November 1, 2025.

        9.     If applicable, insert here any provisions for disclosure or discovery or electronically

stored information and/or any agreements the parties reach for asserting claims of privilege or of

protection as trial preparation materials after production: As of this filing, counsel for the parties

have not agreed upon any provisions regarding disclosure or discovery of ESI; nor have the

parties entered into any agreements regarding claims of privilege in this matter.



Dated: September 11, 2024                      Respectfully submitted,

                                               By: /s/ David M. Poell
                                               David M. Poell (ARDC #6302765)
                                               SHEPPARD MULLIN RICHTER & HAMPTON LLP
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                                               Counsel for Defendant Jimmy John’s, LLC



                                               By: /s/ Arun G. Ravindran (with consent)
                                               Arun G. Ravindran (Pro Hac Vice)
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                                               Counsel for Plaintiffs and Putative Classes



                                                 -2-
         2:23-cv-02168-CSB-EIL         # 27       Filed: 09/11/24    Page 3 of 3




                             CERTIFICATE OF SERVICE

        I, David M. Poell, hereby certify that on this 11th day of September 2024, I
electronically filed the foregoing Rule 26(f) Meeting Report together with proposed order, with
the Clerk of the Court using the CM/ECF system which will send notification of such filing to
the following to all counsel of record in this matter.


                                                         /s/ David M. Poell
                                                         Counsel for Defendant




                                            -3-
